                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:20-cv-00220-MR

RANDY W. BARKLEY, Individually     )
and as the Executor of the Estate of
                                   )
Rita W. Barkley, Deceased,         )
                                   )
                     Plaintiff,    )
                                   )
          vs.                      )            ORDER
                                   )
4520 CORP., INC., Individually and )
as Successor-in-Interest to        )
Benjamin F. Shaw Company, et al.,  )
                                   )
                     Defendants.   )
_______________________________ )

        THIS MATTER is before the Court on Defendant Riley Power, Inc.’s

Motion for Summary Judgment [Doc. 315]; Defendant Riley Power, Inc.’s

Joinder in Co-Defendants’ Motions to Exclude Plaintiff’s Expert Witnesses

[Doc. 317]; and the parties’ Joint Motion to Dismiss Riley Power, Inc. [Doc.

373].

        Upon review of the parties’ motions,

        IT IS, THEREFORE, ORDERED that the parties’ Joint Motion to

Dismiss [Doc. 373] is GRANTED, and all the Plaintiff’s claims against the

Defendant Riley Power, Inc. are hereby DISMISSED WITH PREJUDICE.




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     IT IS FURTHER ORDERED that Defendant Riley Power, Inc.’s Motion

for Summary Judgment [Doc. 315] and Defendant Riley Power, Inc.’s

Joinder in Co-Defendants’ Motions to Exclude Plaintiff’s Expert Witnesses

[Doc. 317] are DENIED AS MOOT.

     IT IS SO ORDERED.       Signed: October 29, 2021




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